Case 0:23-cv-60355-AHS Document 34 Entered on FLSD Docket 08/28/2023 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

                                           IN ADMIRALTY

                                  CASE NO.: 0:23-CV-60355-AHS

  In the Matter of the Complaint for Exoneration
  From or Limitation of Liability by EASTWINDS CO,
  LLC as Owner of Motor Yacht JOAN’S ARK,
  Official Number: 1150796, IMO: QEO12122C303

  Petitioner.
  _____________________________________________/

  PETITIONER, EASTWINDS CO, LLC’S OBJECTION TO CLAIMANTS’ NOTICE OF
    FILING AMENDED STIPUATIONS IN RESPONSE TO AND IN COMPLIANCE
                         WITH ORDER (DE 31)

         COMES NOW, Petitioner, EASTWINDS CO, LLC (“EASTWINDS”), by and through

  its undersigned counsel, hereby files its Objection to Claimants’ Notice of Filing Amended

  Stipulations in Response to and in Compliance with Order (DE 31) found in Docket Entry 32 (the

  “Notice”) and briefly notes that the convoluted language proposed by Claimants fails to clearly

  “stipulat[e] that it will never seek” to enforce a judgment in excess of the limitation fund. Order

  [DE 31] at 6. The Stipulation should plainly state that “If th[is] Court grants Petitioner's request

  for exoneration, there shall be no recovery from Petitioner, and any claim based upon attorneys'

  fees and costs will not be collected.” In re Black, No. 16-cv-81937, 2017 U.S Dist. LEXIS

  183071, at *4 (S.D. Fla. July 11, 2017) (Stipulation number 5).

         Addressing limitation, the Stipulation should plainly state that “In the event this Court

  determines that the Petitioner is entitled to limit its liability, the Claimant[s] agree[] that [they]

  will not seek to enforce any judgment that would require the Petitioner to pay damages in excess

  of the limitation fund to be determined by this Court.” See, e.g., Offshore of the Palm Beaches,
Case 0:23-cv-60355-AHS Document 34 Entered on FLSD Docket 08/28/2023 Page 2 of 3




  Inc. v. Lynch, 741 F.3d 1251, 1254 (11th Cir 2014) (Stipulation number 4). Further, Stipulation

  number 3 only limits judgments obtained “in state court” and does not address the possibility of

  Claimants proceeding in any other court or tribunal. In re Black, 2017 U.S Dist. LEXIS 183071,

  at *4-5. Respectfully, Claimants should stipulate that any judgment in any forum outside of the

  limitation action should be limited. Id. at *4 (stipulating to limitation and exoneration in any

  “ruling, judgment, or decision of any state court or other forum”); see also Offshore of the Palm

  Beaches, 741 F.3d at 1254 (Stipulations 3 and 4; “Claimant will not seek a determination of the

  issues set forth in paragraphs (1) and (2) above in any state court, or any other forum outside of

  this limitation proceeding”).

         WHEREFORE, Petitioner, EASTWINDS CO, LLC respectfully requests this Court deny

  Claimants’ stipulations as proposed as they fail to adequately protect Petitioner’s rights to

  exoneration and limitation of liability solely before this Court.


                                                          Respectfully submitted,

                                                          Law Offices of Michelle Otero Valdés
                                                          /s/ Michelle Otero Valdés
                                                          Michelle Otero Valdés, B.C.S.
                                                          Florida Bar No.: 14990
                                                          Christian Merida, Esq
                                                          Florida Bar No.: 1035190
                                                          Manuel F. Valdés, Esq.
                                                          Florida Bar No.: 13307
                                                          2030 S. Douglas Road, Suite 117
                                                          Coral Gables, Florida 33134
                                                          Tel: (305) 377-3700
                                                          Fax: (866) 702-4577
                                                          Email: MOV@miamimaritimelaw.co
                                                          Email: Christian@miamimaritimelaw.co
                                                          Email: Mvaldes@miamimaritimelaw.co
                                                          Attorneys for Petitioner
Case 0:23-cv-60355-AHS Document 34 Entered on FLSD Docket 08/28/2023 Page 3 of 3




                                   CERTIFICATE OF SERVICE

         I hereby certify that on August 28, 2023, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this way on all counsel of record or pro se parties identified on the attached service list in

  the manner specified, either via transmission of Notices of Electronic Filing generated by

  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

  to receive electronically Notices of Electronic Filing.

                                                            By: /s/ Michelle Otero Valdés
                                                            Michelle Otero Valdés, B.C.S.

                                       SERVICE LIST

  Robert B. Parrish, Esq.
  David C. Reeves, Esq.
  Moseley, Prichard, Parrish, Knight & Jones
  501 West Bay Street
  Jacksonville, Florida 32202
  Ph: (904) 356-1306
  Fx: (904) 354-0194
  Email: rbp@mppkj.com
  Email: dcreeves@mppkj.com
  Email: tsullivan@mppkj.com
  Secondary Email: jpinkham@mppkj.com
  Attorneys for the Co-Personal Representatives
